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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA            )
                                    )
            v.                      ) No. 1:21-cr-00177-CRC
                                    )
DANIEL D. EGTVEDT,                  )
                                    )
                  Defendant.        )

    GOVERNMENT’S OPPOSITION TO DEFENDANT’S MOTION TO SUPPRESS
                            STATEMENTS

      The United States of America, by and through the United

States Attorney for the District of Columbia, hereby opposes

defendant Daniel D. Egtvedts’s motion to suppress statements

(ECF no. 50). 1   Each of the challenged statements--consisting of

verbal statements Egtvedt made on February 13, 2021 when state

and local law enforcement interacted with him at his brother’s

residence in Oakland, Maryland; verbal statements made in

connection with his arrest in Oakland later the same day;

written statements he made during his detention at the Garrett

County (Md.) Detention Center during the period February 13–16,

2021; and verbal statements he made while being transported to

D.C. on February 16, 2021--is fully admissible.

                      Introduction and Background




      1The defendant’s motion (ECF no. 50) seeks to suppress “statements and

phone evidence.” The challenged phone evidence, which consists of the
results of a forensic search of the defendant’s cell phone, will be addressed
in a separate opposition.
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     January 6, 2021 2

     Defendant Egtvedt is one of hundreds of individuals charged

with crimes relating to the riot at the U.S. Capitol that took

place on January 6, 2021, when Congress was in session to

certify the results of the 2020 election for president and vice-

president.

     On that date, at approximately 2:49 p.m., Egtvedt forced

his way into the Capitol building, through the Senate wing

doorway located on the northern end of the upper west terrace.

That doorway had been initially breached by rioters at

approximately 2:13 p.m.      Several minutes later law enforcement

members were able to re-secure it, until it was breached again

by other rioters at approximately 2:48 p.m., just before Egtvedt

himself made entry.

     Once inside the building Egtvedt proceeded down a hallway,

heading south.    In the hallway he sat down on a bench for

several minutes while dozens of other rioters milled about.             The

government has recovered a social media, audio-video recording




      2The defense motion recounts at one point that Egtvedt “made
numerous statements on the grounds of the capitol [on January 6, 2021]
which were recorded by various people, including police officers wearing
body worn cameras.” Defendant’s Motion at 1-2. The government
nonetheless reads the motion as challenging only those statements Egtvedt
made during the period February 13–16, 2021. See id. at 2.




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of Egtvedt while he was in this area of the Capitol.            On this

recording Egtvedt speaks to another rioter, who is apparently

live streaming the events, and states:


            Tell everybody that’s outside, tell them to
            get in here now! . . . This is our country.
            We need to reclaim it. We’re not going to
            let the globalists take our country. This
            is America. Everybody, if you’re seeing
            this, come down here now! We’re not backing
            away. This is our house. Congressmen, grow
            a spine or f***ing resign!

A few minutes later on the recording Egtvedt starts shouting:

“Police are traitors!      Police are traitors!      Police are

traitors!”

     After a few more minutes, Egtvedt resumed walking southward

in the building, and made his way to a room known as the Crypt.

In the Crypt, he verbally berated multiple police officers,

yelling at them that they were “on the wrong f***ing side.”

     A few minutes later Egtvedt exited the Crypt and resumed

walking south, toward the Hall of Columns.          When Egtvedt arrived

in the Hall of Columns, at about 3:11 p.m., numerous law

enforcement members, all in uniform, were standing along either

side.    As Egtvedt walked down the middle of the hall, heading in

the general direction of an exit doorway, he pointed to several




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of them and stated, “God bless all of you.”           One officer

responded, “Keep going, sir.” 3

      As Egtvedt neared the end of the hall, about 20 feet from

the exit, another law enforcement member, an FBI agent dressed

in tactical gear, motioned for him to continue in that

direction.    Egtvedt walked a few more feet toward the doorway.

However, he then abruptly turned around and began walking back

down the Hall of Columns toward the building’s interior. 4            As

Egtvedt passed by the same agent, that agent once again motioned

for him to proceed to the doorway.         Egtvedt ignored the agent

and continued walking away from the doorway.

      As Egtvedt, who is listed in driver’s license records from

2020 as 6’2” in height and weighing 320 pounds, continued toward

the interior of the building, U.S. Capitol Police (USCP) Officer

M.M.--a woman about half his size who was in full uniform--



      3The defense motion incorrectly states (Def. Motion at page 4) that

Egtvedt’s remark was recorded on “CCTV video.” Although the moment was
captured on a U.S. Capitol Police (USCP) closed-circuit video (CCV) camera,
that system does not have an audio component. Rather, Egtvedt’s remark,
along with the officer’s response, were captured on body-worn cameras (BWCs),
which record both audio and video, worn by several of the D.C. Metropolitan
Police Department (MPD) officers standing in the Hall of Columns.

      4Contrary to the statement in the defense motion (Def. Motion at page

4), Egtvedt did not “exit[] through the doors” and then “[f]ifteen seconds
later . . . enter[] back in through the doors.” The USCP CCV camera referred
to in the defense motion, number 0177, does not cover the doors themselves,
which are about 10 feet outside that camera’s coverage. Egtvedt does walk
out of the coverage area toward the doors and then reappears back in the
frame several moments later heading the other direction. However, a review
of the recording for the same period from USCP CCV camera 0181, which does
cover the doors, shows that he never got to the doors before he turned around
and headed back toward the interior.

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stepped in front of him to block his path.           When he continued

walking toward her, Officer M.M. placed her right hand on his

upper left shoulder, to direct him back toward the doorway.

When Egtvedt did not comply, two more uniformed USCP officers

positioned themselves around Egtvedt.

     Egtvedt continued to walk away from the doorway and loudly

stated, “You shoot me!        Shoot me!    You guys are violating the

Constitution of the United States of America!”            He then swung

his left hand around and swatted Officer M.M.’s right hand off

his shoulder.      Officer M.M. then raised her left hand and placed

it on Egtvedt’s upper chest area.          Egtvedt then rotated his body

and pinned the officer’s left hand in the crook of his right

elbow.     Officer M.M. swung her right hand against Egtvedt’s

right arm in order to free her other hand.

     As this was happening the two other USCP officers were

attempting to subdue Egtvedt.         In addition, D.C. Metropolitan

Police Department (MPD) Officer M.D., also in full uniform,

positioned himself behind Egtvedt and pulled him by his jacket

back toward the doorway.        Egtvedt then began to yell, “You work

for us!     You work for us!”     He then twisted around, removing

first his left arm and then his right from his jacket, which

fell to the floor.       He continued in his effort to move forward,

away from the doorway.



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     Two more officers, again in full uniform, surrounded and

pushed against Egtvedt, as he continued struggling, still trying

to move forward.       With the weight of four male officers against

him, including Officer M.D., Egtvedt could no longer move

forward and fell backwards to the floor.           As he hit the floor,

the back of his head struck one of the columns.            He also landed

partly on top of Officer M.D.

     For the next two minutes or so, Egtvedt lay on the floor.

Although conscious and alert he refused to comply with officers’

demands and stated he would not leave.          The officers also asked

him whether he wanted medical assistance, which he declined.

Finally, two male USCP officers lifted Egtvedt to his feet and

half-carried, half pushed him toward and out the doorway.

     Egtvedt fell to the floor again, immediately outside the

doorway.     Officers again tried to convince him to stand up and

leave.     He would not.    The officers again offered to get him

medical assistance.       He again declined.

     After about two more minutes the officers helped Egtvedt to

his feet.     Now standing immediately outside the doorway Egtvedt

promptly attempted to re-enter the building.           Once again

uniformed officers, including Officer M.M., physically blocked

him, and once again Egtvedt swatted at Officer M.M.’s hand as

she pushed against his chest.



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     After a few more moments of confrontation, Egtvedt relented

and, at 3:18 p.m., began walking away from the doorway.            At this

point Egtvedt was on a raised outdoor terrace with several sets

of steps leading down to a concrete area on the south side of

the building.     As he walked toward the steps on the western end

of the terrace, an MPD officer called up to him and told him he

needed to go the opposite direction, toward the steps on the

eastern end.     Egtvedt ignored the officer and continued toward,

and then walked down, the steps on the western end.

     As he neared the bottom of those steps, the same officer

approached him and once again told him he needed to head the

opposite direction.      He responded, “I don’t want to go over

there.”    The officer, a female, repeated her command.          Egtvedt

refused to comply and came to the bottom of the steps.            The

officer, joined by a male MPD officer, then physically turned

Egtvedt around and began to push against Egtvedt’s back, forcing

him to walk toward the east.        As he walked, he leaned back

against them to resist, and shouted, “This is tyranny!”

     When the officers reached an area just outside the

southeast corner of the building, other officers opened up a set

of metal barriers and Egtvedt was directed to the other side of

them.    Thereafter, Egtvedt remained on the grounds of the

Capitol for several more hours.        During this period he at one

point used his cell phone to record other rioters attempting to

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pry open a door to the Capitol building and at another used a

megaphone in an attempt to verbally engage with police officers

protecting the building. 5

      Egtvedt’s Contact with Police on February 13, 2021, and His
      Subsequent Arrest and Detention in Oakland, Maryland

      On February 9, 2021, an arrest warrant for Egtvedt was

issued by the Hon. Z.M. Faruqui for the crimes Egtvedt committed

at the Capitol.

      Unrelated to the warrant, local law enforcement happened to

encounter Egtvedt at the residence of his brother, in Oakland,

Maryland, on the morning of February 13, 2021.           Egtvedt’s

brother had called 911 when Egtvedt came to the residence and

tried to prevent his brother from taking their mother to get a

COVID-19 vaccination.      Three officers responded, two from the

Garrett County Sheriff’s Office and one from the Maryland State

Police.

      Egtvedt explained to the officers that he wanted them to

prevent his mother from getting the vaccine, because, according

to Egtvedt, the vaccine was actually detrimental to people’s

health.    He also told the officers that the vaccine would change




      5Egtvedt was recorded at several points during this period on MPD BWC.
In their motion (Def. motion at 2, 3 & 8) the defense claims that Egtvedt
suffered a “severe concussion” as a result of his confrontations with the
police while inside the building. The government, however, is not aware of
any moment during the period after the police removed him from the building
where Egtvedt behaves as if he has a head injury or makes any statement
indicating he has such an injury.

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a person’s DNA and was part of a government plot to kill people.

Egtvedt also at one point stated that he would not talk to the

trooper because, as Egtvedt explained, only a county sheriff and

his deputies could legitimately exercise law enforcement duties.

The incident ended when the officers were able to distract

Egtvedt by conversing with him, which allowed the brother to

leave the house and take the mother to get the vaccine.

     The state trooper who had responded to Egtvedt’s brother’s

residence also became aware the same day that Egtvedt was wanted

on the federal warrant.      Working with the FBI, Maryland State

Police that afternoon conducted a traffic stop of a Gold GMC

Yukon that Egtvedt was suspected of operating, traveling on a

road in Oakland.

     Egtvedt was indeed operating the vehicle and he was placed

under arrest without incident.       At the time of his arrest,

Egtvedt’s cell phone was sitting in the vehicle’s cupholder.             In

his interaction with the arresting officers, Egtvedt referred to

a “broken phone,” which an FBI special agent on the scene

believed was a reference to the fact that the screen on

Egtvedt’s phone was cracked.       Maryland State Police retrieved

Egtvedt’s phone from the vehicle and, at Egtvedt’s request,

placed it in his jacket pocket. 6


     6It  is the standard practice of Maryland State Sr. Trooper Brian
Brennan, who was involved in the defendant’s arrest, to ensure that an
arrestee has his/her phone on his/her person after an arrest. This is so the

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      Shortly after being arrested Egtvedt remarked to an FBI

agent, who was present for the arrest, “What’s this all about?”,

or words to the same effect.        The agent then played an audio-

video recording for Egtvedt that the Bureau had obtained from

YouTube, apparently showing Egtvedt outside the Capitol on

January 6, 2021.     In the 11-second recording Egtvedt looks

directly into the camera and states:         “We’re in treasonous

situations here people.       Please come down to the United States

Capitol right now, everybody.        Please come.” 7

      After watching the recording Egtvedt asked the agent:             “Was

that you that was filming me?”        The agent responded, “No,” and

told him it was on YouTube.       Egtvedt then stated he wanted an

attorney and no more questions were asked of him.

      The Maryland troopers then transported Egtvedt to the

Garrett County Commissioner’s Office, about 9 miles away.             Later

the same day Egtvedt appeared before a Maryland District Court

Commissioner who advised him of the nature of the charges

against him, his right to remain silent, his right to an

attorney, and his right to an appointed attorney if he cannot

afford one.    The Commissioner then ordered him detained until

February 16, 2021, when he would be transferred to D.C. for an


arrestee can call a contact if and when, after appearing before a Maryland
District Court Commissioner, they are released on bond.

      7There is no timestamp on this video. Most likely, this video was
recorded after police officers had removed Egtvedt from the Capitol building.

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appearance in federal court. 8       The Commissioner further advised

Egtvedt that he would be afforded a hearing on release

conditions by the federal court.

      After the hearing, the state trooper brought Egtvedt to the

Garrett County Detention Center, which is in a separate building

across the street from where the hearing occurred.            During the

walk to the detention center, Egtvedt told the trooper they

would need multiple officers to take him to D.C. and that he

would fight to prevent them from taking him.

      Egtvedt was held at the detention center for three days,

until February 16, 2021.       While held at that facility Egtvedt

handwrote letters intended for the Garrett County Sheriff that

he not be sent to D.C.      Copies of those letters are attached

here as Exhibit B.

      On February 16, 2021, Egtvedt was picked up at the

detention center without incident and driven to D.C.             During the

trip Egtvedt at one point asked an FBI agent what “port” he was

being taken to, and also made a reference to “maritime law.”

The agent told Egtvedt in response that he did not understand

what he was asking.

                                  Argument



      8The brief hearing was not electronically recorded and was not conducted

in the presence of a court reporter. However, the defendant was provided a
document, a copy of which is attached here as Exhibit A, advising him of his
rights.

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     1. None of the challenged statements of the defendant is
        barred by the Due Process Clause.

     The Due Process Clause of the Fifth Amendment provides in

pertinent part that “No person shall . . . be deprived of life,

liberty, or property, without due process of law.”         Separate and

apart from the Amendment’s Self-incrimination Clause (discussed

infra), due process principles govern law enforcement’s “tactics

for eliciting inculpatory statements” from suspects.         Miller v.

Fenton, 474 U.S. 104, 109 (1985).       As the Court of Appeals for

this circuit has held, “[a] confession is inadmissible as a

matter of due process if under the totality of circumstances it

was involuntarily obtained.”     United States v. Bradshaw, 290

U.S. App. D.C. 129, 133, 935 F.2d 295, 299 (1991).

     Whether a defendant’s statement was voluntarily made “turns

on whether the defendant's will was overborne when he gave his

statement, and the test for this is whether the statement was a

product of an essentially free and unconstrained choice by its

maker.”   United States v. Murdock, 399 U.S. App. D.C. 153, 156,

667 F.3d 1302, 1305 (2012) (internal quotation and alteration

marks, and citations omitted).     As the court in Murdock further

explained:


           The ultimate issue of “voluntariness” is a
           legal question that requires a careful
           evaluation of all the circumstances of the
           interrogation, including but not limited to
           the defendant's age and education, the

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             length of detention, whether the defendant
             was advised of his rights, and the nature of
             the questioning.

Id. at 156-57, 667 F.3d at 1305-06 (internal quotation and

alteration marks, and citations omitted).

      In addition, “coercive police activity is a necessary

predicate to the finding that a confession is not ‘voluntary’

under due process principles.”        Colorado v. Connelly, 479 U.S.

157, 167 (1986).      “Absent police conduct causally related to the

confession, there is simply no basis for concluding that any

state actor has deprived a criminal defendant of due process of

law.”    Id. at 164. 9

      Finally, the Court of Appeals has strongly suggested that

“egregious facts” are necessary to establish that a defendant’s

statements were involuntary.        United States v. Mohammed, 402

U.S. App. D.C. 330, 336, 693 F.3d 192, 198 (2012).

             a. The defendant’s age, education and background

      At the time of his arrest Egtvedt was 57 years old.            He has

a bachelor’s degree from Michigan State University.            According

to his LinkedIn page, he worked as a professional in sales and

business consulting from 1999 to 2018, including security

consulting, and has a license from the Virginia Department of




      9As the cases cited in the text show, courts analyzing this issue refer
to a “confession” and to a mere “statement” by a defendant interchangeably.
There is no difference as to how the issue is considered.

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Criminal Justice Services.     He has also served on the Loudoun

County, Virginia Board of Supervisors.

     The government submits that the defendant’s maturity and

his educational and professional background make it highly

unlikely that any statement he made to the police was a product

of his will being overborne.

          b. The defendant’s statements on 2/13/2021 at his
             brother’s Oakland, Md. residence

     As set out above, the defendant made a number of statements

to and in the presence of police, after his brother called 911

of the morning of February 13, 2021.      Although the brother’s

call related to the defendant being in the residence without his

(the brother’s) consent, the officers who responded to the

residence neither detained nor arrested him, and treated him

respectfully.   The officers questioned the defendant, as well as

the brother and their elderly mother, in an attempt to resolve a

dispute between the brothers as to whether their mother should

get a COVID-19 vaccine.    The dispute was resolved when the

brother and mother left the residence, after which the police

also left.

     The police had arrived at the residence at 10:27 a.m. and

departed at 11:38 a.m.

     Based on these facts, the government submits that any

statements the defendant made to or in the presence of the


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police were made voluntarily.     There are no egregious facts to

justify suppression of these statements on due process grounds.

           c. The defendant’s statement during his arrest

     The defendant was arrested on the afternoon of February 13,

2021, after his vehicle was stopped by Maryland State Police.

Immediately following the arrest, as recounted above, the

defendant made a remark about his phone being broken an asked

that it be placed in his pocket.

     The defendant asked an FBI agent, “What’s this all about?,”

or using words to the same effect, asked the agent why he was

being arrested.   To inform the defendant as to the reason for

his arrest, the agent played an 11-second audio-video file on

the agent’s phone, showing the defendant outside the Capitol

building on January 6, 2021, urging others to come to the

Capitol.   Which prompted the defendant to ask the agent if that

had been him, the agent, who recorded him.

     These brief exchanges were not in the context of formal

questioning by the agent or any other law enforcement officers.

It followed shortly after a non-violent traffic stop and an

incident-free arrest.

     The government submits that on these facts there are no

grounds to find that the statement was made involuntarily.             Once

again, there is no evidence of egregious facts to support such a

finding.

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             d. The defendant’s threat to physically resist being
                taken to D.C., and his writings to the Sheriff

     As discussed above, after the brief appearance before the

District Court Commissioner, the defendant was on notice that he

would be transferred to the District of Columbia.            He had also

been advised during the proceeding of his right to remain silent

and his right to representation by an attorney.

     The defendant’s verbal statement, shortly thereafter, that

he would physically resist being transferred to D.C., was not

made in response to any police questioning.           Similarly, his

handwritten statements intended for the Sheriff, which he wrote

while held at the detention center, explaining that he should

not be transferred to D.C., were also not made in response to

police questioning.

     Given the defendant’s age and background, given that he had

been advised of his rights, and given that none of these

statements was the product of any coercive conduct by the

police, the Court should find them to have been voluntarily

made.

     2. None of the challenged statements is barred under Miranda
        v. Arizona.

     The Fifth Amendment’s Self-incrimination Clause provides

that “No person shall be . . . compelled in any criminal case to

be a witness against himself.”        In Miranda v. Arizona, 384 U.S.

436 (1966), the Supreme Court held that the prosecution may not

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use in evidence “statements, whether inculpatory or exculpatory,

stemming from custodial interrogation of the defendant, unless

it demonstrates the use of procedural safeguards effective to

secure the privilege against self-incrimination.”         Id. at 444.

The Miranda Court further held that, “unless other fully

effective means are devised,” the following “procedural

safeguards” were required:     “Prior to any questioning, the

person must be warned that he has a right to remain silent, that

any statement he does make may be used as evidence against him,

and that he has a right to the presence of an attorney, either

retained or appointed.”    Id.

     The Miranda Court further held, however, that these now-

familiar warnings need only be given when a suspect has been

“taken into custody or otherwise deprived of freedom of action

in any significant way.”    Id.   The Court later made clear that

as suspect is “in custody” for Miranda purposes only after a

“formal arrest or [a] restraint on freedom of movement to a

degree associated with a formal arrest.”       California v. Beheler,

463 U.S. 1121, 1125 (1983) (internal quotation marks omitted).

     In addition Miranda applies only to statements made in

response to police interrogation; it does not apply to

“volunteered” statements made by a suspect.        Rhode Island v.

Innis, 446 U.S. 291, 301-02 (1980).      Nonetheless, “police

interrogation extend[s] . . . to words or actions on the part of

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police officers that they should have known were reasonably

likely to elicit an incriminating response” from the suspect.

Id.

      Finally, it is not necessary that a suspect expressly waive

his rights under Miranda for his statements to be admissible.

If the Miranda warnings are given, and if it is established that

the suspect understood them, he is deemed to have implicitly

waived his rights under Miranda by thereafter answering

questions during interrogation.        Berghuis v. Tompkins, 560 U.S.

370, 384-85 (2010).

      Under these set of principles, the statements the defendant

made at this brother’s residence, on the morning of February 13,

2021, are fully admissible because at no time during that

incident was the defendant in custody.         As discussed above, for

the hour or so he was in the presence of the police, he was

never arrested nor detained.       In fact, not only was he free to

leave the house--where he did not reside--he was actively

encouraged to do so. 10

      The other challenged statements--the defendant’s remarks

about his phone, the question to the agent whether the agent had


      10TheCourt need not reach this issue, as the government does not intend
to use this set of statements in its case in chief. The government may,
however, use them during cross-examination of the defendant, should he
testify, or in a rebuttal case. See Harris v. New York, 401 U.S. 222, 222-25
(1971) (per curiam) (holding that statements of a defendant elicited in
violation of Miranda may be used to impeach the defendant if he testifies).


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recorded him at the Capitol; the defendant’s verbal threat to

physically resist being transferred to D.C.; his letters to the

Sheriff; his remarks to the agent about the port he was being

taken to and maritime law--are all volunteered statements not

made in response to police questioning and therefore not barred

under Miranda.     In the government’s view, only the defendant’s

question to the agent about whether the agent filmed him, made

moments after the arrest, requires any detailed analysis. 11

       Although no court in this Circuit has apparently addressed

the issue, most courts have held that it does not constitute

interrogation, under Miranda and Innis, for the police to advise

a suspect about the facts or status of the investigation against

him.

       That is the view, for example, in the Eighth Circuit.              See

United States v. Allen, 247 F.3d 741, 765-66 (8th            Cir. 2001),

judgment vacated on other grounds, 536 U.S. 953 (2002).              In

Allen the suspect, arrested for his involvement in a violent

bank robbery, invoked his Miranda rights.           Id. at 756-57, 764.

Detectives then conducted a line-up where three out of four

eyewitnesses placed Allen on the scene of the robbery, which had



      11In addition, the threat, the written letters, and the remark about a

port and maritime law were all made after the defendant had been advised of
his Miranda rights by the Commissioner. Even if these statements were the
product of interrogation, which they are not, the government submits the
defendant was aware of his rights under Miranda and therefore implicitly
waived them by making these statements. See Tompkins, 560 U.S. at 384-85.

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occurred the previous day.     Id. at 764.    The detectives

thereafter “informed him of the results of the line-up.”          Id.

Allen then requested to speak with a particular police officer

whom he knew from a previous case, which was arranged.         Id.

That officer advised Allen again of his Miranda rights.          Id.

After waiving his rights, Allen confessed his involvement in the

armed robbery.   Id. at 764-65.

     On appeal following his conviction, Allen argued his

confession should have been suppressed because he had invoked

his right to counsel under Miranda before meeting with the

officer to whom he confessed.     Id. at 764.    In rejecting Allen’s

appeal, the court focused on whether informing Allen of the

results of the line-up constituted interrogation under Innis.

Id. at 765-66.   The court ruled it did not.       As the court

explained:


          It was a simple description of the status of
          the ongoing investigation which, according
          to the government, is a routine practice for
          suspects in custody in this particular
          jurisdiction. More importantly, it was not
          designed to, nor was it reasonably likely
          to, elicit an incriminating response from
          Allen. This was a statement of fact and not
          a plea to conscience. See Innis, 446 U.S.
          at 294–95, 302–03. Rather, the officer
          simply described the results of the lineup,
          unaccompanied by any threats or other
          compelling pressure. Informing a suspect
          that he has been identified in a lineup
          contributes to the intelligent exercise of
          his judgment and may likely make firm his

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          resolve to refuse to talk to the police
          without counsel.

Id. at 765 (citations omitted).      The court further held that

“[k]eeping a suspect informed of the progress of the

investigation and the status of the charges against him should

be encouraged rather than discouraged, so long as the

communication is truthful, and is not designed, nor is it likely

to elicit, an incriminating response.”       Id. at 765-66.

     The Court of Appeals for the Fourth Circuit reached a

similar conclusion in United States v. Payne, 954 F.2d 199 (4th

Cir.), cert. denied, 503 U.S. 988 (1992).       In Payne the suspect

had been arrested after making sales of cocaine to an undercover

police officer.   Id. at 200-01.     While Payne was in custody, the

police executed a search warrant at his residence and recovered

a firearm.   Id. at 201.   When Payne was later being transported

to an FBI office, an agent with him was advised of the results

of the search in a phone call.     Id.   Shortly thereafter, the

agent told Payne that “they found a gun in your house.”          Id.

According to the court, “Payne responded, ‘I just had it for my

protection.’”   Id.

     On appeal following his conviction for drug and weapons

offenses, the Fourth Circuit rejected Payne’s argument that the

agent’s statement about the recovery of the gun was the

functional equivalent of interrogation, and that therefore his


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response should have been suppressed.       Id. at 202.    The court

further held:


          That no comment on the evidence in a case
          will ever issue in the presence of a
          criminal suspect seems to us neither
          realistic nor desirable . . . Indeed, it
          may even be in the interest of a defendant
          to be kept informed about matters relating
          to the charges against him. Here, for
          example, Agent Martin had [earlier]informed
          Payne that the government was going to
          search his residence and permitted him to
          call his family in order to minimize their
          apprehension. Information about the
          evidence against a suspect may also
          contribute to the intelligent exercise of
          his judgment regarding what course of
          conduct to follow.

Id.; see also United States v. Collins, 683 F.3d 697, 702-03 (6th

Cir.) (“An accurate statement made by an officer to an

individual in custody concerning the nature of the charges to be

brought against the individual cannot reasonably be expected to

elicit an incriminating response.”), cert. denied, 568 U.S. 988

(2012).

     Moreover, these considerations have particular force where

the officer is providing information about the case against a

suspect in response to the suspect’s direct inquiry, as there is

no doubt in such circumstances that the suspect wants

information to help him assess his situation.        In this respect

the facts at issue in United States v. Conley, 156 F.3d 78 (1st



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Cir. 1998), are particularly pertinent to the facts involving

Egtvedt.

      In Conley a U.S. Postal Inspector arrested the suspect and

told him he was under arrest for “drug trafficking.”          Id. at 81.

The suspect then “beseech[ed the inspector] to tell him ‘what is

going on’ and [asked] ‘what have you guys got on me, what's this

all about?’.”    Id.   The inspector complied with Conley’s

requests and began explaining the evidence against him.           Id.   As

he was doing so, Conley “blurted out” and “injected” statements

to the effect that he was involved in marijuana distribution.

Id.

      On appeal following Conley’s conviction for drug offenses,

the Court of Appeals for the First Circuit upheld the admission

of the statements, ruling that:       “A law enforcement officer's

mere description of the evidence and of potential charges

against a suspect, in direct response to the suspect's

importuning, hardly can be classified as interrogatory.”           Id. at

83.

      Finally, these holdings are supported by the Supreme

Court’s decision in Arizona v. Roberson, 486 U.S. 675 (1988).

In Roberson the Court held that when a suspect in custody

invokes his Miranda right to counsel, the police cannot

thereafter initiate interrogation even if the subject of the new

interrogation concerns a separate investigation.         Id. at 682-87.

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The police are permitted, however, “to inform the suspect of the

facts of the second investigation as long as such communication

does not constitute interrogation.”      Id. at 687.    As the Fourth

Circuit noted in Payne:    “If providing such information need not

constitute interrogation in the circumstances of two

investigations, we discern no reason why the rule would be any

different when a suspect is the subject of only one

investigation.”   954 F.2d at 202.

     In this case, just like the appellant in Conley, Egtvedt,

after being arrested, wanted to know “what this was all about.”

The agent responded by showing Egtvedt an 11-second audio-video

recording that concisely encapsulated why Egtvedt was being

arrested.   There was no reason at all for the agent to expect

Egtvedt to provide an incriminating response upon being shown

the recording, let alone any response at all.        Indeed, the

particular response Egtvedt made--indicating Egtvedt thought it

might have been the agent himself who recorded him at the

Capitol urging others to join the mob attacking the building--

was far and away beyond what any reasonable person would expect.

                              Conclusion

     For the reasons set forth above, and for any other reason

the government might offer at a hearing on the defendant’s

motion, the defendant’s motion to suppress statements should be

denied.

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                      Respectfully submitted,

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